                                                            (SPACE BELOW FOR FILING STAMP ONLY)
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 4
 5     ATTORNEY FOR     Defendant, LORENA PEREZ
 6
 7
 8                               UNITED STATES DISTRICT COURT
 9                             EASTERN DISTRICT OF CALIFORNIA
10                                        * * * * * * * *
11   UNITED STATES OF AMERICA,                    Case No.: CRF-06-00059-AWI
12                 Plaintiff,                      STIPULATION TO SET NEW MOTION
                                                    IN LIMINE BRIEFING SCHEDULE
13           vs.                                   AND TO CONTINUE HEARING DATE
                                                             AND ORDER
14   LORENA PEREZ, et al.,
15                 Defendants.
16
17           The parties herein, through their respective counsel, hereby
18   agree and stipulate that the motion in limine hearing/trial
19   confirmation currently set for October 13, 2009, at 11:00 a.m. be
20   continued to October 19, 2009, at 9:00 a.m.
21           The new motion briefing schedule is as follows:
22           Motions in limine due September 28, 2009, by 4:00 p.m.;
23           Responses to motions in limine due:             October 5, 2009, by
24   4:00 p.m.;
25           Replies to motions in limine due:          October 13, 2009, by 4:00
26   p.m.;
27   ///
28   ///
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 1          The delay resulting from this continuance shall be excluded
 2   in the interests of justice under 18 U.S.C. §§ 3161(h)(1)(F),
 3   (h)(8)(A), and (h)(8)(B)(I).
 4      DATED: September 17, 2009.        Respectfully submitted,
 5                                        LAW OFFICE OF RICHARD P. BERMAN
 6
 7                                        By     /s/ RICHARD P. BERMAN
                                               RICHARD P. BERMAN
 8                                             Attorney for Defendant,
                                               LORENA PEREZ
 9
10         DATED:   September 17, 2009.        LAWRENCE G. BROWN
                                               United States Attorney
11
12                                             By /s/ KAREN ESCOBAR
                                                 KAREN ESCOBAR
13                                               Assistant U.S. Attorney
14         DATED:   September 17, 2009.        NUTTALL & COLEMAN
15
                                               By /s/ ROGER T. NUTTALL
16                                                ROGER T. NUTTALL
                                                  Attorney for Defendant,
17                                                DANIEL ANGULO
18         DATED:   September 17, 2009.
19
                                              /s/ JOSEPH SHEMARIA
20                                            JOSEPH SHEMARIA
                                              Attorney for Defendant,
21                                            FRANCHESKA BRIZAN
22         DATED:   September 17, 2009.
23
24                                            /s/ STEPHEN MENSEL
                                              MICHAEL IDIART
25                                            Attorney for Defendant,
                                              SERGIO PADILLA
26
27   ///
28   ///

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 1       DATED:     September 17, 2009.
 2
 3                                            /s/ JAMES HOMOLA
                                              JAMES HOMOLA
 4                                            Attorney for Defendant,
                                              DAMIAN GUNN
 5
 6                                    *******
 7                                     ORDER
 8
 9   IT IS SO ORDERED.
10   Dated:   September 25, 2009             /s/ Anthony W. Ishii
     0m8i78                         CHIEF UNITED STATES DISTRICT JUDGE
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